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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

  QUANTUM PARK PROPERTY OWNERS’                                                   CASE NO.
  ASSOCIATION, INC., a/k/a QUANTUM PARK
  OWNERS ASSOCIATION,

         Plaintiff,
  v.

  UNITED STATES LIABILITY INSURANCE
  COMPANY,

        Defendant.
  ____________________________________________/

                              COMPLAINT FOR DECLARATORY RELIEF

         Plaintiff, Quantum Park Property Owners’ Association, Inc., a/k/a Quantum Park Owners

  Association (“QPPOA”), sues defendant, United States Liability Insurance Company, and says:

                                  JURISDICTION, PARTIES AND VENUE

         1.        This is an action for declaratory judgment pursuant to 28 USC §2201 and 28 USC

  §2202 to determine an actual controversy between the parties.

         2.        QPPOA is a Florida corporation whose principal place of business is in Boynton

  Beach, Palm Beach County, Florida. QPPOA is a citizen of the State of Florida.

         3.        United States Liability Insurance Company (“USLIC”) is an active Pennsylvania

  corporation whose principal place of business is in Wayne, Delaware County, Pennsylvania.

  USLIC is a citizen of the State of Pennsylvania.

         4.        The amount in controversy exceeds $75,000.00, exclusive of attorneys’ fees,

  interest and costs. This Court has jurisdiction of this matter pursuant to 28 USC §1332.

                                                 FACTUAL ALLEGATIONS

         5.        QPPOA is a Florida not-for-profit corporation formed to provide oversight and

  management over a development known as the Quantum Corporate Park (hereafter, the “Park”).
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  The Park is governed by a series of restrictive covenants. QPPOA is governed by its bylaws and

  its Board of Directors.

         6.        On or about 22 March 2011, USLIC issued QPPOA nonprofit professional

  liability policy number NDO1020104J (the policy). A copy of the policy is attached as Exhibit 1.

         7.        On or about 26 April 2013, Olen Properties Corporation, Secured Holdings, Inc.,

  Quantum Lakes Villas II Corporation and Villas at Quantum Lakes, Inc. filed an action in Palm

  Beach County Circuit Court against QPPOA and four of the members of its Board of Directors:

  Douglas MacDonald, Eugene Gerlica, Fiorenzo Bresolin and Heather Rintoul. Also sued were

  hundreds of property owners within the Quantum Corporate Park, too numerous to list here (case

  number 502013CA007694XXXXMB AH (the Palm Beach action)).

         8.        QPPOA gave prompt written notice of the Palm Beach action, which constitutes a

  claim under Part A, section III.B.2 of the policy, to USLIC.

         9.        On 22 May 2013, USLIC acknowledged receipt of the Palm Beach action by

  letter directed to QPPOA’s director, in which USLIC said in relevant part:

         Following review of [the policy] and the allegations asserted against the Insured
         and it (sic) Board Members in the Motion, the Company agrees to provide
         coverage for this Claim, subject to the Policy terms, conditions and provisions.

         Subject to a Reservation of Rights, the Company will appoint the defense of the
         Insured and its Board Members to the law firm of Milber, Makris, Plousadis &
         Seiden [“Milber”] [text omitted]. Additionally, no defense costs may be
         incurred… without the Company’s written consent. If defense costs are
         incurred… we will not be liable for them.

  A copy of this letter is attached as Exhibit 2.

         10.       QPPOA did not want Milber to defend the Palm Beach action. It told USLIC that

  it wanted Irwin Gilbert of Gilbert & Yarnell and Stanley Klett of Klett, Mesches & Johnson

  (collectively “Gilbert”) to defend QPPOA and its Directors because Gilbert had more experience

  with the type of dispute in issue and knew about the parties’ long and involved history. Thus,
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  defense costs would be reduced because Gilbert would not have to spend time coming up to

  speed on the parties’ extensive background and dealings that precipitated or related to the Palm

  Beach action. QPPOA thus told USLIC it wanted Gilbert in defense of the Palm Beach action.

         11.       USLIC responded by letter dated 28 May 2013 (copy attached as Exhibit 3) that it

  remained committed to appointing counsel (Milber) to represent QPPOA and its Directors “[f]or

  the reasons cited in the Company’s reservation of rights letter dated May 22, 2013…”. USLIC’s

  28 May 2013 letter cited that part of the policy section entitled DEFENSE AND SETTLEMENT

  in support of its position that all of Gilbert’s fees and costs incurred by QPPOA in defense of the

  Palm Beach action were QPPOA’s obligation because its retention of Gilbert had been without

  USLIC’s written consent. QPPOA has thus far incurred fees and costs to Gilbert for defense in

  the Palm Beach action in an amount over $200,000.00.

         12.       QPPOA and USLIC continued to correspond with each other about the issue of

  defense counsel, USLIC complaining by letter that it had no idea of what was occurring in the

  Palm Beach action because QPPOA had refused to let USLIC appoint counsel to represent it

  (though USLIC would not engage with or inquire of Gilbert if it had any questions or concerns

  about QPPOA’s defense or the status of the Palm Beach action). Gilbert – for QPPOA and its

  Directors- responded with a written litigation update and renewed demand for payment of

  Gilbert’s fees and costs.

         13.       Gilbert’s fees and costs remained unpaid by USLIC. On 22 July 2013, Gilbert

  sent another letter to USLIC detailing the status of the Palm Beach action. On 30 July 2013,

  Luks Santaniello Petrillo & Jones sent Gilbert a letter on behalf of USLIC (attached as Exhibit 4)

  saying that USLIC had the sole right to choose defense counsel for QPPOA and that QPPOA’s

  persistence in refusing USLIC’s chosen defense counsel would jeopardize coverage under the

  policy. According to this letter, QPPOA and its Directors were free to retain Gilbert (as a
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  supplement to Milber) at its own expense.

         14.       In June 2014 a final attempt was made to get USLIC to pay Gilbert’s fees and

  costs (Exhibit 5). USLIC and Luks, its counsel, did not respond to QPPOA’s final request for

  payment of defense fees and costs, prompting this action. To date USLIC has paid none of

  Gilbert’s fees and costs incurred in QPPOA’s defense, which have been paid and/or are being

  paid by QPPOA, in a total amount exceeding $200,000.00.

         15.       All conditions precedent to this action have occurred, or been waived or

  performed. QPPOA has cooperated with USLIC and otherwise complied with its obligations, to

  the extent possible given the latter’s reservation of rights and refusal to deal with QPPOA’s

  retained defense counsel.

                                                       COUNT I
                                                 Declaratory Judgment

         16.       QPPOA realleges paragraphs 1-15 as if restated here.

         17.       Once USLIC undertook QPPOA’s defense in the Palm Beach action under

  reservation of rights, USLIC forfeited to QPPOA and its Directors the right to control that

  defense, which right includes the selection and payment of defense counsel, Gilbert. QPPOA’s

  control of its defense, however, does not excuse USLIC from paying the former’s defense costs

  pursuant to the policy.

         18.       USLIC contends that various policy provisions grant it the exclusive right to

  appoint and pay QPPOA’s defense counsel. Relevant sections of the policy are (bold in original):

  COVERAGE PART A. NON PROFIT DIRECTORS AND OFFICERS LIABILITY

  I.     INSURING AGREEMENT

  A.     The Company will pay on behalf of the Insured Loss in excess of the RETENTION, not
         exceeding the Limit of Liability for which this Coverage Part applies, that the Insured
         shall become legally obligated to pay because of Claims first made against the Insured
         during the Policy Period or during the Extended Reporting Period, if applicable, for
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         Wrongful Acts arising solely out of an Insured’s duties on behalf of the Organization.

  B.     The Company has the right and duty to defend any Claim to which this insurance
         applies, even if the allegations of the Claim are groundless, false, or fraudulent.

  III. DEFINITIONS

  D.     “Defense Costs” means reasonable and necessary legal fees and expenses incurred by the
         Company, or by any attorney designated by the Company to defend the Insureds,
         resulting from the investigation, adjustment, defense and appeal of a Claim. Defense
         Costs includes other fees, costs, costs of attachment or similar bonds (without any
         obligation on the part of the Company to apply for or furnish such bonds), but does not
         include salaries, wages, overhead or benefits expenses of the Insured.

  NON PROFIT PROFESSIONAL LIABILITY POLICY COMMON POLICY CONDITIONS

  Except for the Common Policy Conditions, the terms and conditions of each Coverage Part shall
  apply only to that Coverage Part unless otherwise provided. If any provision in these Common
  Policy Conditions is inconsistent or in conflict with the terms and conditions of such Coverage
  Part, the terms and conditions of such Coverage Part shall control for the purposes of that
  Coverage Part. Any defined term referenced in these Common Policy Conditions but defined in a
  Coverage Part shall, for the purposes of coverage under that Coverage Part have the meaning set
  forth in that Coverage Part.

  II.    DEFENSE AND SETTLEMENT

  A.     The Insured shall not demand or agree to arbitration of any Claim without the written
         consent of the Company. The Insured shall not, except at personal cost, make any offer,
         any payment, admit any liability, settle any Claim, assume any obligation or incur any
         expense without the Company’s written consent.

  B.     If a Claim is made against an Insured for Loss that is both covered and uncovered by
         this Policy, the Company will pay one hundred present (100%) of Defense Costs for the
         Claim until such time that the Limits of Liability of this Policy are exhausted by payment
         of a covered Loss or the Claim for the covered Loss is resolved by settlement, verdict or
         summary judgment.

  C.     The Company, as it deems expedient, has the right to investigate, adjust, defend, appeal
         and, with the consent of the Insured, negotiate the settlement of any Claim whether
         within or above the Retention. If the Insured refuses to consent to a settlement
         recommended by the Company, the Company is not obligated to pay any Loss or
         defend any Claim after the Limit of Liability has been exhausted by payment of Loss.
         The Company’s obligation to the Insured for Defense Costs and Loss attributable to
         such Claim(s) shall be limited to:

         (a)       The amount of the covered Loss in excess of the Retention which the Company
                   would have pain in settlement at the time the Insured first refused to settle;
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            (b)   Plus covered Defense Costs incurred up to the date the Insured first refused to
                  settle;
          (c)     Plus seventy five percent (75%) of covered Loss and Defense Costs in excess of
                  the first settlement amount recommended by the Company to which the Insured
                  did not consent.
  It is understood that payment of (a), (b) and (c) above is the limit of the Company’s liability
  under this Policy on any Claim in which the Insured fails or refuses to consent to the
  Company’s settlement recommendation, subject at all times to the Limits of Liability and
  Retention provisions of the applicable coverage section. The remaining twenty five percent
  (25%) of Loss and Defense Costs in excess of the amount referenced in (a) and (b) above shall
  be the obligation of the Insured.

  D.        The Insured agrees to cooperate with the Company on all Claims, and provide such
            assistance and information as the Company may reasonably request. Upon the
            Company’s request, the Insured shall submit to examination and interrogation by a
            representative of the Company, under oath if required, and shall attend hearings,
            depositions and trials and shall assist in the conduct of suits, including but not limited to
            effecting settlement, securing and giving evidence, obtaining the attendance of witnesses,
            giving written statements to the Company’s representatives and meeting with such
            representatives for the purpose of investigation and/or defense, all of the above without
            charge to the Company. The Insured further agrees not to take any action which may
            increase the Insured’s or the Company’s exposure for Loss or Defense Costs.

  E.        The Insured shall execute all papers required and shall do everything that may be
            necessary to secure and preserve any rights of indemnity, contribution or apportionment
            which the Insured or the Company may have, including the execution of such
            documents as are necessary to enable the Company to bring suit in the Insured’s name,
            and shall provide all other assistance and cooperation which the Company may
            reasonably require.

            19.       A genuine dispute has arisen between the parties as to the obligation to pay

  QPPOA’s (Gilbert’s) defense fees and costs in light of (i) USLIC’s defense of QPPOA under

  reservation of rights, (ii) QPPOA’s refusal to accept USLIC’s designated defense counsel; (iii)

  QPPOA’s retention of its own defense counsel as to which USLIC will not consent, and (iv) the

  policy’s omission of any term or condition vesting exclusive right of selection of defense counsel

  in the carrier, USLIC. QPPOA is thus in doubt as to its rights, duties and obligations under the

  policy.

            20.       In view of the foregoing and by the terms and provisions of USC § 2201, et. seq.,

  this Court has the right and power to declare the rights and liabilities of the parties and to grant
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  such other and further relief as necessary.

         WHEREFORE, plaintiff, Quantum Park Property Owners’ Association, Inc., a/k/a

  Quantum Park Owners Association, respectfully requests a declaratory judgment that defendant,

  United States Liability Insurance Company, must reimburse all attorneys’ fees and costs incurred

  in QPPOA’s defense in the Palm Beach action attributable to Gilbert’s fees and costs; United

  States Liability Insurance Company must pay all such defense fees and costs going forward, up

  to the limits specified in the policy, and United States Liability Insurance Company must pay

  QPPOA’s attorneys’ fees incurred in this action pursuant to §627.428, Florida Statutes.

  Dated 25 June 2014                                         Respectfully submitted,


                                                             /s Mary Morris
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